       Case 4:20-cv-01281-LPR-JTK Document 8 Filed 01/11/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

CHARLES PHILLIP RICE,                                                              PLAINTIFF
ADC #656403

v.                                4:20-cv-01281-LPR-JTK

G. MUSSLEWHITE, et al.                                                         DEFENDANTS

                                          ORDER

       The Court has received Proposed Findings and Recommendations from United States

Magistrate Judge Jerome T. Kearney.   (Doc. 6).   Plaintiff Charles Rice has filed no objections.

After a review of the Proposed Findings and Recommendations, the Court adopts them in their

entirety. IT IS THEREFORE ORDERED that Mr. Rice’s grievance-related allegations against

Defendants are DISMISSED for failure to state a claim upon which relief may be granted.

       IT IS SO ORDERED this 11th day of January 2021.



                                                  _________________________________
                                                  LEE P. RUDOFSKY
                                                  UNITED STATES DISTRICT JUDGE
